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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                               Case No.: 2:20-cr-115-FtM-66MRM

WILLIAM N. HARWIN


                                      ORDER

      Defendant, Dr. William Harwin, M.D., moves for discovery of this Court’s

grand and petit jury selection procedures, along with demographic information

about the grand jury that returned his indictment. (Doc. 21.) As to the former, he

asserts that the grand jurors who indicted him in this case (and the pool of potential

petit jurors) may not have been an accurate cross-section of the community due to

the COVID-19 pandemic. Specifically, Dr. Harwin contends that because certain

groups in the community are especially vulnerable to COVID-19, these groups may

not have been adequately represented in the grand jury pool because those

individuals would be more likely to have COVID-19 related medical concerns

precluding them from participation in a grand jury. Thus, Dr. Harwin asks this

Court for discovery of certain documents to determine if he has grounds to dismiss

the indictment. (Id.)

      As will be explained, the Court GRANTS IN PART Dr. Harwin’s request as

it relates to the disclosure of grand jury-related information and DENIES IN

PART Dr. Harwin’s request for discovery as it relates to the forthcoming selection
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of a petit jury WITHOUT PREJUDICE to his ability to renew that request should

this case proceed to a jury trial.

                                     DISCUSSION

      It is axiomatic that the Fifth and Sixth Amendments to the Constitution of

the United States require jurors in federal criminal proceedings to be selected

without discrimination. See Taylor v. Louisiana, 419 U.S. 522, 530 (1975); United

States v. Gordon-Nikkar, 518 F.2d 972, 976 (5th Cir. 1975). As an additional layer

of protection, Congress passed the Jury Selection and Service Act of 1968 (“JSSA”),

28 U.S.C. §§ 1861–1869, to guarantee that “all litigants in [f]ederal courts entitled

to trial by jury . . . have the right to grand and petit juries selected at random from

a fair cross section of the community in the district or division wherein the court

convenes.” 28 U.S.C. § 1861.

      The JSSA allows defendants to “inspect, reproduce, and copy” records used

“in connection with the jury selection process” in preparation for filing a motion to

dismiss their indictment based on improper jury selection practices. Id. § 1867(f).

The Supreme Court has held that the right to inspect jury selection documents

under the JSSA is “unqualified.” Test v. United States, 420 U.S. 28, 30 (1975).

But this “unqualified” right only goes so far as helping a defendant “determine

whether he has a potentially meritorious jury challenge.” Id. Discovery unsuited

to this purpose need not be produced. See United States v. Pritt, 458 F. App'x 795,

800 (11th Cir. 2012). 1



      1   The Court does not premise the grant or denial of Dr. Harwin’s motion on


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      As noted, Dr. Harwin moves for discovery of certain documents to determine

whether he should move to dismiss his indictment or stay proceedings based on the

fair cross-section requirement of the Sixth Amendment and the JSSA. See Taylor,

419 U.S. at 530; see also United States v. Pepe, 747 F.2d 632, 649 n.17 (11th Cir.

1984) (“The test for a [S]ixth [A]mendment fair cross-section violation applies in

determining a violation of the statutory fair cross-section requirement.” (citing

United States v. Perez-Hernandez, 672 F.2d 1380, 1384–85 (11th Cir. 1982))).

      To make a prima facie showing that the fair-cross-section requirement was

violated, Dr. Harwin must show:

             (1) that the group alleged to be excluded is a “distinctive”
             group in the community; (2) that the representation of this
             group in venires from which juries are selected is not fair
             and reasonable in relation to the number of such persons
             in the community; and (3) that this underrepresentation is
             due to systematic exclusion of the group in the jury-
             selection process.

Duren v. Missouri, 439 U.S. 357, 364 (1979). Most cases dealing with racial



the merits and likelihood of success of any forthcoming challenge to the jury
selection process. See United States v. Royal, 100 F.3d 1019, 1025 (1st Cir. 1996)
(citing Test, 420 U.S. at 30). Concerning relevancy, however, Dr. Harwin expressly
tethers the justification for his discovery to the COVID-19 pandemic—defined as
“the time period beginning March 19, 2020.” (Doc. 21 at 1–2 n.1.) As the Court
has stated on the record during status conferences in this case, a Fort Myers
Division grand jury returned an indictment charging Dr. Harwin with one count of
conspiracy to restrain trade in violation of 15 U.S.C. § 1 on September 23, 2020.
Yet that grand jury was empaneled in June 2019, before the start of the COVID-19
pandemic pursuant to the Middle District of Florida’s Plan for Qualifications and
Selection of Grand and Petit Jurors (last visited May 11, 2021). That grand jury
remained in service until the undersigned empaneled a new grand jury on October
14, 2020. In sum, the grand jury that returned Dr. Harwin’s indictment was
empaneled prior to the COVID-19 pandemic, which renders the majority of Dr.
Harwin’s argument in support of the requested discovery largely immaterial.



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exclusion in the United States operate under the assumption that African

Americans are a distinctive group in the community. See, e.g., United States v.

Carmichael, 560 F.3d 1270, 1280 (11th Cir. 2009). The Eleventh Circuit has yet to

hold that a diverse group like Hispanic Americans are “distinctive” but, the Court

will, in an abundance of caution, assume they are for the purposes of Dr. Harwin’s

disclosure request. See United States v. Rodriguez, 776 F.2d 1509, 1511 n.2 (11th

Cir. 1985); cf. Castaneda v. Partida, 430 U.S. 482, 495 (1977) (stating in the context

of an equal protection challenge to underrepresentation of Mexican-Americans in

county grand juries, “[I]t is no longer open to dispute that Mexican-Americans are a

clearly identifiable class.”).

       Age is a different matter. The Eleventh Circuit has held that “age alone

does not identify an identifiable group for Sixth Amendment purposes.” Wysinger

v. Davis, 886 F.2d 295, 296 (11th Cir. 1989) (holding that adults between eighteen

and thirty were not a distinctive group under Duren). Other circuit courts appear

to have reached similar conclusions. See, e.g., Brewer v. Nix, 963 F.2d 1111, 1113

(8th Cir. 1992) (denying petition for writ of habeas corpus to defendant who argued

that Iowa statute exempting people over age sixty-five deprived him of a fair cross-

section because the group’s “supposed distinctive characteristics are too general and

ill-defined”); Silagy v. Peters, 905 F.2d 986, 1010 (7th Cir. 1990) (same for people

over seventy); United States v. LaChance, 788 F.2d 856, 876 (2d Cir. 1986) (“Courts

of Appeals have uniformly held that age groups are not ‘distinctive’ enough for

[S]ixth [A]mendment (fair cross section) purposes, as ‘distinctive’ was used in




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[Duren].”). 2

       Dr. Harwin seeks discovery of this Court’s jury selection procedures to

determine whether three groups who he claims have been disproportionately

affected by COVID-19 were adequately represented in the grand jury that returned

his indictment: (1) African Americans; (2) Hispanic Americans; and (3) people from

“certain age groups.” (Doc. 21 at 9–13.) As to this last category, Dr. Harwin never

actually says which “age groups” he believes are distinctive for purposes of the Sixth

Amendment. Instead, he generally explains:

                Recent data reflects that those between the ages of 30 and
                39 are twice as likely to be hospitalized from COVID-19
                and four times as likely to die as those aged 18 to 29; those
                between the ages of 40 and 49 are three times as likely to
                be hospitalized from COVID-19 and ten times as likely to
                die as those aged 18 to 29; and those between the ages of
                50 and 64 are four times as likely to be hospitalized from
                COVID-19 and thirty times as likely to die as those aged
                18 to 29.

(Id. at 11–12.)

       Assuming this data is accurate, it poses more questions than it answers. For

instance, what threshold for hospitalization from COVID-19 is necessary for a group

to be distinctive? Although older people may be more susceptible to the virus, the

Centers for Disease Control and Prevention have also opined that children ages

twelve to seventeen were twice as likely to have COVID as children aged five to

eleven. Rebecca T. Leeb, et al., COVID-19 Trends Among School-Aged Children—



       2Although the First Circuit once recognized young adults as a distinctive
group for jury selection purposes, it later overruled itself. See Barber v. Ponte, 772
F.2d 982, 1000 (1st Cir. 1985) (en banc).


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United States, March 1–September 19, 2020, Morbidity & Mortality Wkly. Report,

at 1410, 1414 (Oct. 2, 2020) https://www.cdc.gov/mmwr/volumes/69/wr/pdfs/

mm6939e2-H.pdf. Putting aside the ineligibility of children to serve on a jury, it

strains reason to suggest that higher risk from COVID is enough to make an age

group constitutionally distinctive.

      While the Court is sensitive to the demands of the moment, it is also bound to

apply the Eleventh Circuit’s precedent. The Court does not read Wysinger as

narrowly applying to younger age groups, as Dr. Harwin suggests. (Doc. 21 at 8

n.4.) Instead, the Court is left with the inescapable conclusion that the Eleventh

Circuit meant what it said when it declared that “age alone”—that is, any age

group—“does not identify an identifiable group for Sixth Amendment purposes.”

Wysinger, 886 F.2d at 296. Thus, because information about the age of excluded

jurors is irrelevant to a potentially meritorious JSSA challenge, the Court will not

respond to Dr. Harwin’s document request insofar as they seek information about

age. See Test, 420 U.S. at 30; Pritt, 458 F. App'x at 800. And although some of

the documents produced in response to Dr. Harwin’s requests may incidentally

contain information about age, the Court does not view age-based groups as

“distinctive” for purposes of the Sixth Amendment and the JSSA.

      Based upon the foregoing legal standards, and after careful consideration of

Dr. Harwin’s discovery request, the Court will provide Dr. Harwin with the

following documents as they pertain to the relevant grand jury proceedings and,

including specifically, the grand jury that indicted Dr. Harwin:




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                 Exhibit                                 Document 3

 Exhibit A                                 Report on Operation of the Jury
                                           Selection Plan (Form AO 12)
 Exhibit B                                 Current 2019-01 FtM Grand Jury
                                           Members
 Exhibit C                                 Excused 2019-01 FtM Grand Jury
                                           Members
 Exhibit D                                 Selected 2019-01 FtM Grand Jury
                                           Members
 Exhibit E                                 FtM Juror Status Report Wheel: 17A
 Exhibit F                                 FLMD Juror Status Report Wheel: 17A
 Exhibit G                                 FLMD COVID-19 Juror Letter
 Exhibit H                                 FLMD COVID-19 (Petit) Juror
                                           Questionnaire
 Exhibit I                                 FtM Entire Source List Race/Gender
                                           Report
 Exhibit J                                 FtM Not Qualified/Excused Source List
                                           Race/Gender Report
 Exhibit K                                 FtM Processed Questionnaires Source
                                           List Race/Gender Report
 Exhibit L                                 FtM Qualified Source List Race/Gender
                                           Report
 Exhibit M                                 Qualified Source List Race/Gender
                                           Report Pool #: 201190602


      3  To avoid any confusion, the Court takes this opportunity to address the
documents’ potentially misleading stylings and provide important context. For
example, certain document titles contain the following designation: “2019-01 Grand
Jury.” This does not mean that the grand jury was empaneled from 2019 to 2021—
rather, the “-01” suffix simply means that this was the first grand jury empaneled
in 2019. Had there been a second grand jury in 2019, the title for that grand jury
would read: “2019-02 Grand Jury.” Additionally, certain documents contain a
misleading date sometime in November 2020. This is the date on which the
specific document’s information was retrieved and the document created. All
documents still pertain to the grand jury that was empaneled in June 2019 and
returned Dr. Harwin’s indictment in September 2020, notwithstanding a later date
noted in the document. On this point, Exhibit D—titled “Selected Grand Jury
Members”—contains information about the jurors constituting the grand jury at the
time it was empaneled (i.e., on the date of its selection). After certain jurors were
excused (as noted in Exhibit C “Excused Grand Jury Members”), the remaining
grand jurors—identified as the “Current Grand Jury Members” in Exhibit B—
returned Dr. Harwin’s indictment in September 2020.



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Exhibit N                                  Panel Source List Race/Gender Report
                                           Event #: FtM 2019-1-GJ
Exhibit O                                  Entire Source List Race/Gender Report
                                           Pool #:201190602
Exhibit P                                  Jury Source List Race/Gender Report
                                           Event #: FtM-2019-1-GJ


     Accordingly, it is ORDERED that:

     1.     Dr. Harwin’s Motion for Discovery of Jury Selection Procedures (Doc.

            21) is GRANTED IN PART and DENIED WITHOUT PREJUDICE

            IN PART.

     2.     The motion (Doc. 21) is GRANTED to the extent that the Court will

            produce the documents this Order identifies, and which are attached

            as Exhibits to this Order.

     3.     The motion (Doc. 21) is DENIED WITHOUT PREJUDICE to the

            extent it seeks any greater or different relief than this Order provides.

            After reviewing the produced documents attached to this Order, Dr.

            Harwin may file a renewed motion with an explanation of why this

            Court’s production was inadequate and what further information he

            needs. Dr. Harwin may also renew his request as to the selection of

            petit jurors, if appropriate, when and if he proceeds to a jury trial.

     ORDERED at Fort Myers, Florida, on May 11, 2021.




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